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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF WASHINGTON
 9
10    UNITED STATES OF AMERICA,
                                                        Cause No. CR-11-2079-WFN-3
11                                   Plaintiff,

12    v.                                                     ORDER GRANTING SECOND
                                                                MOTION TO MODIFY
13    DAVID CORNEJO,                                          CONDITIONS OF RELEASE

14                                   Defendant.

15          Before the court is Defendant’s Second Motion to Modify Conditions of Release.

16          For the reasons set forth in Defendant’s Motion, IT IS HEREBY ORDERED that

17   Defendant’s Motion is GRANTED on the following conditions: Defendant’s David Cornejo,

18   Gusmaro Mendoza-Baez and Carlos Mendoza-Baez may have contact but shall not discuss the

19   charges filed herein or any facts or circumstances related thereto.

20          IT IS SO ORDERED. The District Court Executive is directed to enter this order and to

21   provide copies to counsel.

22          DATED this 14th day of October, 2011.

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24                                                         s/James P. Hutton
                                                   MAGISTRATE JUDGE JAMES P. HUTTON
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     Order Granting Second Motion
     to Modify Conditions of Release- 1
